Case 2:19-cr-00159-RSL Document 332 Filed 06/17/22 Page 1of 2

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, No. 2:19-cr-00159-RSL
Plaintiff,
Inquiry from Jury and
Vv. Court’s Response

PAIGE A. THOMPSON,

Defendant.

 

JURY INQUIRY:
ON CoavT 6 wud count 7 (iwsTencri0 WS

2/422) 16 THe Ommissns OF ATK
intiatona{ , aud wes IF orig inedtg
present 2 aS jn instructims (4429?

ey ivr

PRESIDING JUROR DATE AND TIME

 

 

COURT’S RESPONSE: (After affording all counsel/parties opportunity to be heard)
The Om: SS on" of this element in Drstructi oh §

dX\ and 22 1S intentional, and the Lnstructions
ceflect the Counts as charged,

   

wl. ee pee a “Sop
ite Coa

é

o

 

JUDGE

DATE AND TIME RETURNED TO JURY: Jone. It, AQ 2 lo oS a.m

 

DO NOT DESTROY
Case 2:19-cr-00159-RSL Document 332 Filed 06/17/22 Page 2 of 2

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, No. 2:19-cr-00159-RSL
Plaintiff,
Inquiry from Jury and
V. Court’s Response
PAIGE A. THOMPSON,
Defendant.

 

JURY INQUIRY: }ipw CIZE INSrescm oN 4h] AePLY +)

AncwucioN B26 UNE Poin unk Couwr io

vels to Count 9"

ee |:

. PRESIDING JUROR DATE AND TIME

 

COURT’S RESPONSE: (After affording all counsel/parties opportunity to be heard)

For Count 10, Instruction 26, '€ you ¥ind the
Nefendant not guilty ot Count A, you mus #
also ¥ind) her not guilty ef Count 1@.

JW S Cari

JUDGE

 

on
DATE AND TIME RETURNED TO JURY: June [71,2022 @ 2p mM

 

DO NOT DESTROY
